Case 5:21-cv-02693-EGS Document 19 Filed 02/08/22 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

A.K., a minor, by his parent and natural
guardian, LORI KREIDER,
Plaintiff,
v. : Civil Action No. 21-2693

CITY OF LANCASTER. et al.,
Defendants.

MOTION UNDER RULE 41.2 OF THE LOCAL RULES OF CIVIL
PROCEDURE FOR THE EASTERN DISTRICT OF PENNSYLVANIA

1. The within matter is a claim brought under 42 U.S.C. § 1983 wherein the minor Plaintiff
A.K. made allegations that his civil rights were violated during an incident that occurred on May 30,
2020 involving the minor Plaintiff and employees of the City of Lancaster Police Department.

2. More specifically, the minor Plaintiff, claims that his First Amendment rights of freedom of
expression was violated.

3. Plaintiff alleges that during the course of the protest members of the Lancaster City Police
Department used pepper spray and that he was adversely affected by the use of that pepper spray and
further that the use of the pepper spray violated his rights guaranteed to him by the First
Amendment of the United States Constitution.

4. The Defendant City of Lancaster has made an offer of $5,001.00 in full and final settlement
of the minor Plaintiff's claim.

5. Plaintiff's counsel. in his professional opinion, feels that the settlement offer is fair and
reasonable and in the best interest of the minor Plaintiff.

6. The above mentioned settlement offer was made exclusive of fees and costs, so therefore,
Case 5:21-cv-02693-EGS Document 19 Filed 02/08/22 Page 2 of 2

Plaintiff's counsel will not be seeking reimbursement of any fees or costs from this settlement and
the full value of the settlement will be distributed to the minor Plaintiff. Pursuant to Rule 41.2 of
the Local Rules of the Eastern District of Pennsylvania the full amount of this settlement proceeds,
$5,001.00, will be placed in a federally insured account marked with the restriction, “not to be
withdrawn until the minor attains his majority or upon further order of a Court of competent

jurisdiction.”
WHEREFORE. Plaintiff respectfully moves this Honorable Court for an Order approving

settlement of this claim and further approves the above described distribution of the settlement

funds.
Respectfully submitted,

ke ECKLE, LLC

- f
Got i

= < a “7 —_ en J 3 O
—— é
By: _

Patrick G. Geckle,

Attorney ID No. 26718
PATRICK G. GECKLE, LLC
1515 Market Street, Ste. 1200
Philadelphia, PA 19102
(215) 735-3326 - phone

(215) 689-2803 - fax

Email: pgeckle@pgglaw.com

Counsel for Plaintiffs

bt
